                                                  Case 08-14631-GMB Doc 399-1 Filed 06/23/08 Entered 06/23/08 18:06:22                                                                               Desc
                                                         Exhibit Schedule 8.1 to the Debtors Third Amended Plan Page 1 of 6
Schedule 8.1
Executory Contracts to be Assumed
Shapes / Arch Holdings, LLC.
Case No. 08-14631 (GMB)
         Debtor            Name of Other Party to Lease or Contract                              Address                                               Description of Contract or Lease              Assume       Cure
                                                                          8000 Midlantic Drive, Suite 333 Mt. Laurel, NJ 08054-
Shapes/Arch Holdings LLC   Amerihealth                                    1560                                                    Health Insurance                                              Assume        $          -
                                                                          1021 West 8th Avenue, King of Prussia, PA 19406-
Shapes/Arch Holdings LLC   Benefits Concepts Inc.                         1553                                                    COBRA Administration Service                                  Assume        $          -
                                                                          1021 West 8th Avenue, King of Prussia, PA 19406-
Shapes/Arch Holdings LLC   Benefits Concepts Inc.                         1553                                                    Plan Administration for FSA                                   Assume        $          -
                                                                          1021 West 8th Avenue, King of Prussia, PA 19406-
Shapes/Arch Holdings LLC   Brokerage Concepts Inc.                        1553                                                    Plan Administration for Prescription Plan                     Assume        $          -
Shapes/Arch Holdings LLC   California Union                                                                                       Excess Insurance Policy 1985-1986                             Assume        $          -
Shapes/Arch Holdings LLC   Columbia Casualty                                                                                      Excess Insurance Policy 1984-1985                             Assume        $          -
Shapes/Arch Holdings LLC   Continental Casualty                                                                                   Excess Insurance Policy 1972-1973                             Assume        $          -
Shapes/Arch Holdings LLC   Continental Casualty                                                                                   Excess Insurance Policy 1973-1974                             Assume        $          -
Shapes/Arch Holdings LLC   Continental Casualty                                                                                   Excess Insurance Policy 1974-1975                             Assume        $          -
Shapes/Arch Holdings LLC   Continental Casualty                                                                                   Excess Insurance Policy 1975-1976                             Assume        $          -
Shapes/Arch Holdings LLC   Crown Credit Company                           115 North Main St, New Bremen OH 45869                  (2) Crown WP2340-45 walk-behind forklift leases               Assume        $          -
Shapes/Arch Holdings LLC   Crown Credit Company                           115 North Main St, New Bremen OH 45869                  Drexel SLT-30 lease (Delair)                                  Assume        $          -
                           De Lage Landen Financial Services, Inc/ NMHG   1112 Old Eagle School Road, Wayne, PA 19087/ PO
Shapes/Arch Holdings LLC   Financial Services                             Box 643749 Pittsburgh, PA 15264-3749                    Hyster H60XM lease (Delgard)                                  Assume        $          -
                           De Lage Landen Financial Services, Inc/ NMHG   1111 Old Eagle School Road, Wayne, PA 19087/ PO
Shapes/Arch Holdings LLC   Financial Services                             Box 643749 Pittsburgh, PA 15264-3749                    Hyster H80XM w/rotator lease (Paintline)                      Assume        $          -
Shapes/Arch Holdings LLC   Executive Risk Specialty Insurance Company     82 Hopmeadow Street, Simsbury, CT 06070-7683            Employed Lawyer Policy for 05/01/07 - 05/01/08                Assume        $          -
Shapes/Arch Holdings LLC   Fireman's Fund Insurance Company                                                                       Ocean Marine Policy proposal for 09/15/07 - 09/15/08          Assume        $          -
Shapes/Arch Holdings LLC   Granite State                                                                                          Excess Insurance Policy 1985-1986                             Assume        $          -
                                                                          2005 Market Street, Suite 1920 Philadelphia, PA
Shapes/Arch Holdings LLC   Guardian                                       19103                                                Dental/LTD/Supplemental Life Insurances                          Assume        $          -
Shapes/Arch Holdings LLC   Highlands Insurance                            600 Jefferson Street, Houston, TX 77002-7392         Excess Insurance Policy 1984-1985                                Assume        $          -
                                                                          Skandia America Group - One Liberty Plaza, New York,
Shapes/Arch Holdings LLC   Hudson                                         NY 10006                                             Excess Insurance Policy 1985-1986                                Assume        $          -
Shapes/Arch Holdings LLC   Interstate Fire and Casualty Co.               55 East Monroe Street, Chicago, IL 60603             Excess Insurance Policy 3/77-7/77                                Assume        $          -
Shapes/Arch Holdings LLC   Kronos                                                                                              Software License Agreement                                       Assume        $          -
Shapes/Arch Holdings LLC   Lexington Insurance Company                    100 Summer Street, Boston, MA 02110-2103             Delair Excess Product Liability Policy for 06/07/07 - 06/30/08   Assume        $          -
Shapes/Arch Holdings LLC   Lexington Insurance Company                    100 Summer Street, Boston, MA 02110-2103             Delair Product Liability Policy for 08/01/07 - 08/01/08          Assume        $          -
Shapes/Arch Holdings LLC   Liberty Mutual Ins. Co.                        100 Liberty Way, Dover, NH 03820                     Excess Insurance Policy 1977-1978                                Assume        $          -
Shapes/Arch Holdings LLC   Liberty Mutual Ins. Co.                        100 Liberty Way, Dover, NH 03820                     Excess Insurance Policy 1978-1979                                Assume        $          -
Shapes/Arch Holdings LLC   Liberty Mutual Ins. Co.                        100 Liberty Way, Dover, NH 03820                     Excess Insurance Policy 1979-1980                                Assume        $          -
Shapes/Arch Holdings LLC   Liberty Mutual Ins. Co.                        100 Liberty Way, Dover, NH 03820                     General Liability Polilcy for 1977-1978                          Assume        $          -
Shapes/Arch Holdings LLC   Liberty Mutual Ins. Co.                        100 Liberty Way, Dover, NH 03820                     General Liability Polilcy for 1978-1979                          Assume        $          -
Shapes/Arch Holdings LLC   Liberty Mutual Ins. Co.                        100 Liberty Way, Dover, NH 03820                     General Liability Polilcy for 1979-1980                          Assume        $          -
Shapes/Arch Holdings LLC   Liberty Mutual Ins. Co.                        100 Liberty Way, Dover, NH 03820                     General Liability Polilcy for 1980-1981                          Assume        $          -
Shapes/Arch Holdings LLC   Liberty Mutual Ins. Co.                        100 Liberty Way, Dover, NH 03820                     General Liability Polilcy for 1981-1982                          Assume        $          -
Shapes/Arch Holdings LLC   Liberty Mutual Ins. Co.                        100 Liberty Way, Dover, NH 03820                     General Liability Polilcy for 1982-1983                          Assume        $          -
Shapes/Arch Holdings LLC   Liberty Mutual Ins. Co.                        100 Liberty Way, Dover, NH 03820                     General Liability Polilcy for 1983-1984                          Assume        $          -
Shapes/Arch Holdings LLC   National Union Fire Insurance Company                                                               Excess Insurance Policy 3/77-7/77                                Assume        $          -
                           National Union Fire Insurance Company of
Shapes/Arch Holdings LLC   Pittsburgh, PA (AIG World Source)                                                                      Foreing Commercial Package Policy for 05/01/07 - 05/01/08     Assume        $          -
Shapes/Arch Holdings LLC   NJ P&L Insurance Guaranty Assoc.               222 Mt. Airy Rd., Basking Ridge, NJ 07920               Excess Insurance Policy 1984-1985                             Assume        $          -
Shapes/Arch Holdings LLC   NJ P&L Inurance Guaranty Assoc.                222 Mt. Airy Rd., Basking Ridge, NJ 07920               General Liability Polilcy for 1974-1975                       Assume        $          -
Shapes/Arch Holdings LLC   NJ P&L Inurance Guaranty Assoc.                222 Mt. Airy Rd., Basking Ridge, NJ 07920               General Liability Polilcy for 1975-1976                       Assume        $          -
Shapes/Arch Holdings LLC   NJ P&L Inurance Guaranty Assoc.                222 Mt. Airy Rd., Basking Ridge, NJ 07920               General Liability Polilcy for 1976-1977                       Assume        $          -
Shapes/Arch Holdings LLC   NJ P&L Inurance Guaranty Assoc.                222 Mt. Airy Rd., Basking Ridge, NJ 07920               General Liability Polilcy for 1977-1978                       Assume        $          -
Shapes/Arch Holdings LLC   NJ P&L Inurance Guaranty Assoc.                222 Mt. Airy Rd., Basking Ridge, NJ 07920               General Liability Polilcy for 1973-1974                       Assume        $          -
Shapes/Arch Holdings LLC   NMHG Financial Services                        1010 Thomas Edison Blvd, Cedar Rapids, IA 52404         (1) Hyster H60XM forklift (Delgard)                           Assume        $          -
Shapes/Arch Holdings LLC   NMHG Financial Services                        1010 Thomas Edison Blvd, Cedar Rapids, IA 52404         (3) Hyster H60XM Forklift leases (2-shipping, 1-Delgard)      Assume        $          -
Shapes/Arch Holdings LLC   NMHG Financial Services                        1010 Thomas Edison Blvd, Cedar Rapids, IA 52404         (6) Hyster H60FT Forklift leases (Delair)                     Assume        $          -
Shapes/Arch Holdings LLC   Principal Financial                            711 High Street, Des Moines, Iowa 50392-0001            Company Life Insurance                                        Assume        $          -
                                                                          Two PNC Plaza - 8th Floor, 620 Liberty Ave.
Shapes/Arch Holdings LLC   Prudential Financial                           Pittsburgh, PA 15222                                    401K Profit Sharing Plan Administration                       Assume        $          -
                                                                          United Plaza, Suite 700, 30 S. 17th Stree, Phila., PA
Shapes/Arch Holdings LLC   Resolute Management                            19103                                                   Excess Insurance Policy 1966-1967                             Assume        $          -
                                                                          United Plaza, Suite 700, 30 S. 17th Stree, Phila., PA
Shapes/Arch Holdings LLC   Resolute Management                            19103                                                   Excess Insurance Policy 1967-1968                             Assume        $          -
                                                                          United Plaza, Suite 700, 30 S. 17th Stree, Phila., PA
Shapes/Arch Holdings LLC   Resolute Management                            19103                                                   Excess Insurance Policy 1968-1969                             Assume        $          -
                                                                          United Plaza, Suite 700, 30 S. 17th Stree, Phila., PA
Shapes/Arch Holdings LLC   Resolute Management                            19103                                                   Excess Insurance Policy 1969-1970                             Assume        $          -


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Case No. 08-14631 (GMB)
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                                                                      United Plaza, Suite 700, 30 S. 17th Stree, Phila., PA
Shapes/Arch Holdings LLC   Resolute Management                        19103                                                   Excess Insurance Policy 1970-1971                                   Assume        $          -
                                                                      United Plaza, Suite 700, 30 S. 17th Stree, Phila., PA
Shapes/Arch Holdings LLC   Resolute Management                        19103                                                   Excess Insurance Policy 1971-1972                                   Assume        $          -
                                                                      United Plaza, Suite 700, 30 S. 17th Stree, Phila., PA
Shapes/Arch Holdings LLC   Resolute Management                        19103                                                   Excess Insurance Policy 1972-1973                                   Assume        $          -
                                                                      United Plaza, Suite 700, 30 S. 17th Stree, Phila., PA
Shapes/Arch Holdings LLC   Resolute Management                        19103                                                   General Liability Polilcy for 1966-1967                             Assume        $          -
                                                                      United Plaza, Suite 700, 30 S. 17th Stree, Phila., PA
Shapes/Arch Holdings LLC   Resolute Management                        19103                                                   General Liability Polilcy for 1967-1968                             Assume        $          -
                                                                      United Plaza, Suite 700, 30 S. 17th Stree, Phila., PA
Shapes/Arch Holdings LLC   Resolute Management                        19103                                                   General Liability Polilcy for 1968-1969                             Assume        $          -
                                                                      United Plaza, Suite 700, 30 S. 17th Stree, Phila., PA
Shapes/Arch Holdings LLC   Resolute Management                        19103                                                   General Liability Polilcy for 1969-1970                             Assume        $          -
                                                                      United Plaza, Suite 700, 30 S. 17th Stree, Phila., PA
Shapes/Arch Holdings LLC   Resolute Management                        19103                                                   General Liability Polilcy for 1970-1971                             Assume        $          -
                                                                      United Plaza, Suite 700, 30 S. 17th Stree, Phila., PA
Shapes/Arch Holdings LLC   Resolute Management                        19103                                                   General Liability Polilcy for 1971-1972                             Assume        $          -
                                                                      United Plaza, Suite 700, 30 S. 17th Stree, Phila., PA
Shapes/Arch Holdings LLC   Resolute Management                        19103                                                   General Liability Polilcy for 1972-1973                             Assume        $          -
Shapes/Arch Holdings LLC   Sentry Insurance a Mutal Company           1800 North Point Drive, Stevens Point WI 54481          Automobile Coverage Policy for 07/01/07 - 07/01/08                  Assume        $          -
Shapes/Arch Holdings LLC   Sentry Insurance a Mutal Company           1801 North Point Drive, Stevens Point WI 54481          General Liability Polilcy for 05/01/07 - 05/01/08                   Assume        $          -
Shapes/Arch Holdings LLC   Sentry Insurance a Mutal Company           1802 North Point Drive, Stevens Point WI 54481          Workes' Comp & Employers Liability Policiy for 05/01/07- 05/01/08   Assume        $          -
Shapes/Arch Holdings LLC   The Chubb Group of Ins. Companies          550 Route 206, Suite 110, Bedminster, NJ 07921          Excess Insurance Policy 1984-1985                                   Assume        $          -

Shapes/Arch Holdings LLC   The PMA Group                              380 Sentry Parkway, Suite 200 Blue Bell PA 19422        General Liability Polilcy for 1984-1985                             Assume        $          -

Shapes/Arch Holdings LLC   The PMA Group                              380 Sentry Parkway, Suite 200 Blue Bell PA 19422        General Liability Polilcy for 1985-1986                             Assume        $          -
Shapes/Arch Holdings LLC   Travelers                                  One Tower Square, Hartford, CT 06183                    Inland Marine Policy for 03/27/07 - 03/27/08                        Assume        $          -
Shapes/Arch Holdings LLC   Wells Fargo Insurance Services             701 Lee Road- Suite 205 Chesterbrook, PA 19087          Property Insurance Policy for 07/01/07 - 0701/08                    Assume        $          -
Shapes/Arch Holdings LLC   Wells Fargo Insurance Services             701 Lee Road- Suite 205 Chesterbrook, PA 19087          Transit/Location Floater Policy proposal for 09/20/07- 09/20/08     Assume        $          -
Shapes/Arch Holdings LLC   Western Employers                                                                                  Excess Insurance Policy 1984-1985                                   Assume        $          -
Shapes/Arch Holdings LLC   Zurich American Insurance Company          One Liberty Plaza, 30th Floor New York, NY 10006        Crime Policy for 05/01/07 to 02/01/08                               Assume        $          -
Shapes/Arch Holdings LLC   Zurich American Insurance Company          One Liberty Plaza, 30th Floor New York, NY 10006        Directors and Officers Liability Policy for 05/01/07 - 05/01/08     Assume        $          -
Shapes/Arch Holdings LLC   Zurich American Insurance Company          One Liberty Plaza, 30th Floor New York, NY 10006        Umbrella Policy for 05/01/07 - 05/01/08                             Assume        $          -




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Case No. 08-14631 (GMB)
        Debtor   Name of Other Party to Lease or Contract                               Address                                               Description of Contract or Lease                         Assume       Cure
Shapes LLC       ADT Security Systems                              7895 Browning Road, Pennsauken NJ 08109-8109         Security System contract                                                  Assume        $     2,528.95
                                                                   626 GSB Building, 1 Belmont Ave., Bala Cynwyd, PA
Shapes LLC       Ajax Ice, Inc.                                    19004                                                Ice machine lease                                                         Assume        $      332.00
Shapes LLC       American Steel & Aluminum Corp.                   425 Homestead Ave. Hartford, CT 06112                Customer Supply Agreement                                                 Assume        $         -
Shapes LLC       Castrol Industrial Americas                       150 W. Warrenville Road Naperville IL 60563          PO# 790346, Extended warranty of Lubecon equipment                        Assume        $         -
Shapes LLC       CGIT Systems, Inc.                                51 Alder Street, Medway MA 02053                     Customer Supply Agreement                                                 Assume        $         -
                 CIT Group/Equipment Financing, Inc. (also Wells
Shapes LLC       Fargo Equipment Financing)                        1540 West Fountainhead Pkwy., Tempe, AZ 85282        JLG 600S Boom lift lease                                                  Assume        $     1,620.44
Shapes LLC       Cooper Electric Supply                            402 Bloomfield Drive, West Berlin, NJ 08091          PO# 788591,Maintenance contract for Kohler generators                     Assume        $          -
Shapes LLC       De Lage Landen Financial Services, Inc            1111 Old Eagle School Road, Wayne, PA 19087          (1) Hyster 110Xm forklift (Foundry)                                       Assume        $          -
Shapes LLC       De Lage Landen Financial Services, Inc            1111 Old Eagle School Road, Wayne, PA 19087          (1) Hyster H60FT forklift (Foundry)                                       Assume        $          -
Shapes LLC       De Lage Landen Financial Services, Inc            1111 Old Eagle School Road, Wayne, PA 19087          (2) Drexel SLT 30 leases (Delair)                                         Assume        $          -
Shapes LLC       De Lage Landen Financial Services, Inc            1111 Old Eagle School Road, Wayne, PA 19087          (2) Used Hyster H60XM forklifts (Delair)                                  Assume        $          -
Shapes LLC       De Lage Landen Financial Services, Inc            1111 Old Eagle School Road, Wayne, PA 19087          (3) Drexel SLT 30 leases (Delair)                                         Assume        $          -
Shapes LLC       De Lage Landen Financial Services, Inc            1111 Old Eagle School Road, Wayne, PA 19087          (3) Hyster 155XL-2 forklifts (Foundry)                                    Assume        $          -
Shapes LLC       De Lage Landen Financial Services, Inc            1111 Old Eagle School Road, Wayne, PA 19087          (4) Drexel SLT 30 leases (Delair)                                         Assume        $          -
Shapes LLC       De Lage Landen Financial Services, Inc            1111 Old Eagle School Road, Wayne, PA 19087          Hubtex Side Loader Lease ($1.00 buyout)                                   Assume        $          -
Shapes LLC       De Lage Landen Financial Services, Inc            1111 Old Eagle School Road, Wayne, PA 19087          Hyster H60FT forklift lease (Fabrication)                                 Assume        $          -
Shapes LLC       De Lage Landen Financial Services, Inc            1111 Old Eagle School Road, Wayne, PA 19087          Hyster H60FT forklift lease (Yard/Maint.)                                 Assume        $          -
Shapes LLC       De Lage Landen Financial Services, Inc            1111 Old Eagle School Road, Wayne, PA 19087          Hyster H60XM forklift lease (Fabrication)                                 Assume        $          -
Shapes LLC       De Lage Landen Financial Services, Inc            1111 Old Eagle School Road, Wayne, PA 19087          Hyster H60XM forklift lease (Yard/Maint.)                                 Assume        $          -
Shapes LLC       De Lage Landen Financial Services, Inc            1111 Old Eagle School Road, Wayne, PA 19087          New Holland LW110 Front End Loader lease ($1 buyout)                      Assume        $          -
                 De Lage Landen Financial Services, Inc/ NMHG      1111 Old Eagle School Road, Wayne, PA 19087/ PO
Shapes LLC       Financial Services                                Box 643749 Pittsburgh, PA 15264-3749                 (1) Hyster 110XM w/rotator (Foundry)                                      Assume        $          -
Shapes LLC       Eagle Engineering Corp.                           8869 Citation Road, Baltimore, MD 21221              PO# 787260, Picket/Fabricating machine (40% paid)                         Assume        $    86,700.00
Shapes LLC       East Manufacturing                                1871 State Road, Randolph, OH 44265                  Customer Supply Agreement                                                 Assume        $          -
Shapes LLC       Eastern Metal Supply                              2925 Stewart Creek Blvd. Charlottte, NC 28206        Customer Supply Agreement                                                 Assume        $          -
Shapes LLC       Fromm Electric Supply                             402 Bloomfield Drive, West Berlin, NJ 08091          PO# 767282,On-site parts management agreement                             Assume        $          -
Shapes LLC       GE Capital                                        1961 Hirst Drive, Moberly, MO 65270                  lease for Mail meter & machine                                            Assume        $       181.00
Shapes LLC       Great Dane LP                                     2555 S. Blue Island Avenue, Chicago, IL 60608        Customer Supply Agreement                                                 Assume        $          -
                                                                   8000 Foothills Blvd., MS 5512, Roseville CA 95747-
Shapes LLC       Hewlett Packard Company                           5512                                                 PO# 787979, Hardware support for Proliant Servers                         Assume        $      500.00
                                                                   8000 Foothills Blvd., MS 5512, Roseville CA 95747-
Shapes LLC       Hewlett Packard Company                           5512                                                 PO# 788999, Hardware support for Delair Unix Box                          Assume        $       500.00
Shapes LLC       Honeywell Industries Solutions                    2500 W. Union Hills Drive, Phoenix AZ 85027          PO# 782312, Calibration/Service contract for temperature instruments      Assume        $     3,050.50
Shapes LLC       IKON Financal Services                            1738 Bass Road, Macon GA 31210                       Canon copier lease(die engineering)                                       Assume        $       829.86
Shapes LLC       Ingersoll-Rand Air Center                         30 MacDonald Blvd., Aston, PA 19014                  PO# 790030, Service contract for Air Compressors                          Assume        $          -
Shapes LLC       Instron Systems                                   100 Royall Street, Canton, MA 02021-1089             PO# 785162, Service/support agreement for Tensile testing machines        Assume        $     2,601.00
Shapes LLC       Kawneer Co.                                       555 Guthridge Court, Norcross, GA 30092              Customer Supply Agreement                                                 Assume        $          -
Shapes LLC       Key Equipment Finance                             600 Travis Street, Suite 1400, Houston, TX 77002     Savin copier lease (H.R.)                                                 Assume        $          -
Shapes LLC       Key Equipment Finance                             600 Travis Street, Suite 1400, Houston, TX 77002     Savin copier lease (Shipping)                                             Assume        $       328.60
                                                                   One Port Center - 2 Riverside Drive, Suite 201
Shapes LLC       NJDEP                                             Camden, NJ 08103                                     Settlement Agreement                                                      Assume        $          -
                                                                   Stamford Harbor Park 33 Ludlow St., Suite 1230
Shapes LLC       Noble Americas Corp                               Stamford, CT 06902                                   Premium Metal Hedging Agreement                                           Assume        $          -
Shapes LLC       NTR North America                                 14881 Quorum Drive, Suite 850, Dallas, TX 75254      SaaS Software License Agreement                                           Assume        $          -
Shapes LLC       O'Neal Steel, Inc.                                4530 Messer-Airport Hwy, Birmingham, AL 35202        Customer Supply Agreement                                                 Assume        $          -
Shapes LLC       O'Neal Steel, Inc.                                4530 Messer-Airport Hwy, Birmingham, AL 35202        Customer Supply Agreement                                                 Assume        $          -
Shapes LLC       Open Purchase Orders with Customers                                         N/A                        Purchase Order with Customer for Sale of Product                          Assume        $          -
                                                                   Route 10, Green Hills, PO Box 563, Reading, PA
Shapes LLC       Penske Truck leasing                              19603-0563                                           Lease for (2) Freightliner 26' job trucks -Shipping                       Assume        $     9,053.10

Shapes LLC       Pinnacle Technologies                             5900 La Place Court, Suite 110, Carlsbad, CA 92008   PO# 786046, Production server support, 24 + service                       Assume        $         -
Shapes LLC       Pitney Bowes                                      PO Box 85390, Louisville, KY 40285-5390              PO# 755786, Maint. Agreement for mail machine                             Assume        $      706.14
Shapes LLC       PNC Bank                                          Two PNC Plaza - 8th Floor                            Plan Administration for 401K                                              Assume        $         -
                                                                   Two North Ninth Street, GENPL8, Allentown, PA
Shapes LLC       PPL Energy Plus                                   18101-1179                                           Landfill Electric Agreement                                               Assume        $   646,936.95
                                                                   Two North Ninth Street, GENPL8, Allentown, PA
Shapes LLC       PPL Energy Plus                                   18101-1179                                           Solar Energy Agreement As Amended                                         Assume        $          -
                                                                   1205 Industrial Blvd., PO Box 514, Southampton, PA
Shapes LLC       QC Inc.                                           18966-0514                                           PO# 793256, Monthly wastewater sampling, filtercake analysis(quarterly)   Assume        $       839.00
Shapes LLC       Quality Systems Registrars                        22630 Davis Drive, Suite 220, Sterling, VA 20164     PO# 781847,ISO 9001:2000 registration                                     Assume        $     1,500.00
Shapes LLC       Ryerson                                           2558 W. 16th Street, Chicago, IL 60680               Customer Supply Agreement                                                 Assume        $          -
Shapes LLC       Strategic Products & Services (Avaya)             3 Wing Drive, Suite 100, Cedar Knolls, NJ 07927      Avaya phone equipment maint. (physical)                                   Assume        $     1,273.63
Shapes LLC       Trinity Rail Car                                  2548 N. 28th Street, Fort Worth, TX 76111            Customer Supply Agreement                                                 Assume        $          -


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Case No. 08-14631 (GMB)
             Debtor   Name of Other Party to Lease or Contract                                Address                                          Description of Contract or Lease                                    Assume       Cure
Shapes LLC            U-Haul                                          2727 N. Central Ave.                                Customer Supply Agreement                                                           Assume        $          -
                                                                      17295 East Railroad Street., City of Industry, CA
Shapes LLC            Utility Trailer Manufacturing Co.               91748                                               Customer Supply Agreement                                                           Assume        $          -
                                                                      100 Fordham Road, PO Box 50786, Wilmington, MA
Shapes LLC            Visibility Inc.                                 01815-0786                                          Software Products License Agreement                                                 Assume        $        -
Shapes LLC            Wabash National                                 1000 Sagamore Parkway, Lafayette, IN 47905          Customer Supply Agreement                                                           Assume        $        -
Shapes LLC            XO Communications LLC                           14239 Collections Center Drive, Chicago, IL 60693   Phone service agreement                                                             Assume        $   2,576.27
Shapes LLC            XO Communications LLC                           14239 Collections Center Drive, Chicago, IL 60693   Phone service Maintenance Agreement                                                 Assume        $        -
                                                                                                                                                                                                                            $        -
Delair LLC            B & B Pool Distributors                         5464 County Rd., # 327 Trinity, AL 35673            Customer Agreement                                                                  Assume        $        -
Delair LLC            Burnett Pools                                   2498 Elm Road Extension Cortland, OH                Rebate based on purchases                                                           Assume        $   1,450.00
Delair LLC            Colonial Volkswagon Inc                         200 West Street Road Feasterville,PA 19053          Automobile Lease                                                                    Assume        $        -
                      Forster Fence Co Inc-Licensing Agreement for    7795 La Corniche Circle Boca Raton,FL 33433         Royalty agreement to use Delair patent on hinge
Delair LLC            Delair Hinge Patent                                                                                                                                                                     Assume        $          -
Delair LLC            Infiniti of Willow Grove                        1510 Easton Road Willow Grove, PA 19090        Automobile Lease                                                                         Assume        $          -
                      International Aquatics                          4496 Chesswood Drive Toronto,ON Canada M3J 2B9 Rebate based on purchases
Delair LLC                                                                                                                                                                                                    Assume        $   1,600.00
Delair LLC            Lexington Insurance                             100 Summer Street Boston, MA 02110                  Claims Made Commerial GL Insurance Coverage                                         Assume        $        -
Delair LLC            Lexington Insurance                             100 Summer Street Boston, MA 02110                  Claims Made Commerial GL Insurance Coverage ('03-'04)                               Assume        $        -
Delair LLC            Lexington Insurance                             100 Summer Street Boston, MA 02110                  Claims Made-Excess Insurance Coverage                                               Assume        $        -
Delair LLC            Lexington Insurance                             100 Summer Street Boston, MA 02110                  Claims Made-Excess Insurance Coverage ('03-'04)                                     Assume        $        -
                      Lexington Insurance                             100 Summer Street Boston, MA 02110                  Delair Occurrence Products Liability Ins.(Fence Products only-Home Depot &
Delair LLC                                                                                                                Lowe's)                                                                             Assume        $          -
                      Nationwide Industries-Licensing Agreement for   10333 Windhorst Road Tampa, FL 33619                Royalty agreement to use Delair patent on hinge
Delair LLC            Delair Hinge Patent                                                                                                                                                                     Assume        $        -
Delair LLC            PoolCorp                                        109 Northpark Boulevard Covington,LA 70433-5521     Rebate based on purchases                                                           Assume        $   9,474.00
Delair LLC            QAD                                             100 Innovation Place Santa Barbara, CA              Software License Agreement                                                          Assume        $        -
Delair LLC            Sun Wholesale                                   14480 62nd Street N Clearwater,FL 33760             Rebate based on purchases                                                           Assume        $   2,516.00

Accu-Weld LLC         Automated Window Machinery, Inc.                3171 Albrecht Avenue- Akron, Ohio 44312             Equipment Purchase Agreement                                                        Assume        $          -
                                                                                                                          Leading Edge Distribution provide Accu-Weld with aluminum to make window
                                                                                                                          grids, a portion of the payment for aluminum is used to pay rent for the GED Grid
Accu-Weld LLC         GED Integrated Solutions                        9280 Dulton Drive, Twinsburg, OH 44087              Machine.                                                                            Assume        $          -
Accu-Weld LLC         WindFlite                                       4000 Constitution Dr., Bartonville, Il. 61607       Provide of Winsys software package for Manufacturing computer system.               Assume        $          -




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            Debtor   Name of Other Party to Lease or Contract                               Address                                               Description of Contract or Lease            Assume       Cure

Ultra LLC            Aco Hardware                                     24119 Industrial Park Drive; Farmington Hills MI 48335 Confirmation of Annual Rebate Agreement                     Assume        $          -
Ultra LLC            All American Home Center                         7201E Firestone Blvd, Downey CA 90241                  Advertising Agreement                                       Assume        $          -
Ultra LLC            Alpha Sales Group Ltd                            1448 Dewey Ave, Bellmore NY 11710                      Independent Sales Representative Letter                     Assume        $          -

Ultra LLC            AMAZON.COM                                       1200 12TH AVE SOUTH SEATTLE WA 981442734               Confirmation of Annual Rebate Agreement                     Assume        $     562.32
Ultra LLC            Amazon.com 2005 New Vendor Agreement             1200 12th Ave S. Ste 1200; Seattle WA 98144            Customer's rules and terms for selling to customer          Assume        $        -
Ultra LLC            American Hotel Register Co.                      100 S. Milwaukee Avenue; Vernon Hills IL 60061         Vendor Agreement                                            Assume        $        -

Ultra LLC            AMERICAN HOTEL REGISTRY                          100 S MILWAUKEE AVE VERNON HILLS IL 60061              Confirmation of Annual Rebate Agreement                     Assume        $        9.14
Ultra LLC            Anthony Pietro                                   528 Liberty Ave, Williston Park NY 11596               Independent Sales Representative Letter                     Assume        $         -
                     Ardell Sales & Marketing                                                                                Independent Sales Representatives Agreement
Ultra LLC                                                             2150 E Lake Cook Rd Ste 590, Buffalo Grove IL 60089                                                                Assume        $         -
Ultra LLC            Associated Materials Inc.                        3773 State Road; Cuyahoga Falls OH 44223               Customer's rules and terms for selling to customer          Assume        $         -
Ultra LLC            BAER SUPPLY                                      909 FOREST EDGE DR VERNON HILLS IL 60061               Confirmation of Annual Rebate Agreement                     Assume        $      126.25
Ultra LLC            BFS (BUILDER FIRST SOURCE)                       2001 BRYAN STREET STE 1600 Dallas TX 75201             Confirmation of Annual Rebate Agreement                     Assume        $         -
Ultra LLC            Biscayne Hardware                                1140 NW 159TH DR MIAMI FL 33169                        Confirmation of Annual Rebate Agreement                     Assume        $      499.98
Ultra LLC            BKA Sales & Marketing                            16045 S W 89th Ave, Miami FL 33157                     Independent Sales Representatives Agreement                 Assume        $         -
Ultra LLC            BMA / GUARDIAN                                   979 Batesville Rd; Greer SC 29651                      Confirmation of Annual Rebate Agreement                     Assume        $    1,858.58
Ultra LLC            Budget Hardware                                  1644 NE 2nd Avenue; Miami FL 33132                     Confirmation of Annual Rebate Agreement                     Assume        $         -
Ultra LLC            Busy Beaver                                      3130 Wm. Pitt Way #A6; Pittsburgh PA 15238             Confirmation of Annual Rebate Agreement                     Assume        $         -
                                                                      3450 BLADENSBURG RD COTTAGE CITY MD
Ultra LLC            Castle Wholesalers                               207221805                                              Confirmation of Annual Rebate Agreement                     Assume        $     293.16
                                                                      CALL 24 HRS B4 DELV/240-965-0459 LAUREL MD
Ultra LLC            CENTRAL WHOLESALERS                              20707                                                  Confirmation of Annual Rebate Agreement                     Assume        $    1,776.15
Ultra LLC            Chadwell Supply                                  1721 S King Ave; Brandon, FL 33511                     Confirmation of Annual Rebate Agreement                     Assume        $         -
Ultra LLC            Cimarron - Sutherlands                           4000 Main St Kansas City MO 64111                      Vendor Advertising Agreement                                Assume        $         -
Ultra LLC            CLARK REALTY - FT. BELVOIR                       203 Elden St; Ste 401, Herndon VA 20170                Confirmation of Annual Rebate Agreement                     Assume        $      471.06
Ultra LLC            CONTINENTAL HARDWARE                             400 DELANCY STREET NEWARK NJ 07105                     Confirmation of Annual Rebate Agreement                     Assume        $      249.28
Ultra LLC            Contractors' Warehouse                           Part of Agreement II below                             Customer's rules and terms for selling to customer          Assume        $         -

Ultra LLC            CRB Military Housing - In process - Ft. Belvoir, VA 4401 Wilson BLvd Ste 600; Arlington VA 22203         Customer's rules and terms for selling to customer         Assume        $          -
Ultra LLC            Crown Credit                                        44 S. Washington Street, New Bremen, OH 45869        Crown Lift Truck - 30TSPTN-495                             Assume        $          -
Ultra LLC            CRP Sales                                           5481 Split Rail Dr, Brighton MI 48114                Independent Sales Representatives Agreement                Assume        $          -
                                                                         11111 Carmel Commons Blvd Suite 240 Charlotte NC
Ultra LLC            Distribution America - @ 6%                         28226                                                Confirmation of Annual Rebate Agreement                    Assume        $    5,368.43
Ultra LLC            DO IT BEST                                          6502 Nelson Rd Ft Wayne IN 46803                     Confirmation of Annual Rebate Agreement                    Assume        $    3,834.99
Ultra LLC            Do It Best                                          6502 Nelson Rd Ft Wayne IN 46803                     Customer's rules and terms for selling to customer         Assume        $         -
Ultra LLC            Douglas Group                                       9174 W 102nd Terrace, Overland Park KS 66212         Independent Sales Representatives Agreement-not signed     Assume        $         -
Ultra LLC            EMERY-WATERHOUSE                                    WAREHOUSE ACCOUNT PORTLAND ME 04104                  Confirmation of Annual Rebate Agreement                    Assume        $      436.37
                                                                         555 HUDSON VALLEY AVE NEW WINDSOR NY
Ultra LLC            ENAP                                                12553                                                Confirmation of Annual Rebate Agreement                    Assume        $     410.12
Ultra LLC            Everyday Warehousers                                642 B Ridgewood Road, Ridgeland MS                   Confidential Information Agreement                         Assume        $        -
Ultra LLC            Excel Sales                                         30 State Place, Huntington NY 11743                  Independent Sales Representatives Agreement                Assume        $        -
Ultra LLC            EXPRESS LUMBER & PLUMBING                           1301 60TH ST BROOKLYN NY 11219                       Confirmation of Annual Rebate Agreement                    Assume        $     110.82
Ultra LLC            Florida Hardware                                    436 Cassat Ave; Jacksonville FL 32243                Confirmation of Annual Rebate Agreement                    Assume        $        -
Ultra LLC            Forever Green Holdings (Snapgate)                   117 Ft Lee Road; Unit A-11; Leonia, NJ 07605         Distribution Agreement of Sellers Products for US Market   Assume        $        -
Ultra LLC            GDHWD & Eberle, Inc.                                111 Deerlake Road Ste 115, Deerfield IL 60015        Independent Sales Representatives Agreement                Assume        $        -
Ultra LLC            GENERAL HARDWARE DIST                               2192 VIKING DRIVE ANCHORAGE AK 99501                 Confirmation of Annual Rebate Agreement                    Assume        $        -
Ultra LLC            Genesis Sales Group                                 19 Fox Road, Waltham MA 02451                        Independent Sales Representatives Agreement                Assume        $        -
                                                                         W.W. Grainger Inc; 100 Grainger Parkway; Lake Forest
Ultra LLC            Grainger Global Sourcing                            IL 6005                                              Customer's rules and terms for selling to customer         Assume        $         -
Ultra LLC            Grass Roots Sales                                   7355  W Friendly Ave Ste D Greensboro NC 27410       Independent Sales Representatives Agreement                Assume        $         -
Ultra LLC            Grossmans                                           90 Hawes Way Stoughton MA 02072                      Confirmation of Annual Rebate Agreement                    Assume        $    1,933.17
Ultra LLC            Guardian                                            979 Batesville Rd; Greer SC 29651                    Confirmation of Annual Rebate Agreement                    Assume        $         -
Ultra LLC            Handy Hardware Wholesale Inc                        8300 Tewantin Drive, Houston TX 77061                Customer's rules and terms for selling to customer         Assume        $   12,595.08
Ultra LLC            HARDWARE DISTRIBUTORS                               2580 Getty St; Muskegon MI 49444                     Confirmation of Annual Rebate Agreement                    Assume        $      295.35
                     Hardware Sales Unlimited (formerly Sales
                                                                                                                              Independent Sales Representatives Agreement-not signed
Ultra LLC            Unlimited)                                          15911 Township Glen Lane, Cypress TX 77433                                                                      Assume        $         -
Ultra LLC            HD Supply Inc                                       10641 Scripts Summit Ct; San Diego CA 92131          Customer's rules and terms for selling to customer         Assume        $   53,912.69
                     HDS REPAIR & REMODEL (formerly Contractors FORMERLY CONTRACTORS WAREHOUSE NORTH
Ultra LLC            Whse)                                               HIGHLANDS CA 95660                                   Confirmation of Annual Rebate Agreement                    Assume        $    1,939.82
Ultra LLC            HOME DEPOT & YARDBIRDS                              1310 CLEGG ST PETALUMA CA 949541177                  Confirmation of Annual Rebate Agreement                    Assume        $    2,421.35
Ultra LLC            House Hasson                                        3125 Water Plant Rd; Knoxville TN 31914              Confirmation of Annual Rebate Agreement                    Assume        $         -
Ultra LLC            IBS Software                                        90 Blue Ravin Road, Folsom CA 95630                  Software Agreement                                         Assume        $         -


                                                                                                                             Page 5 of 6
                                          Case 08-14631-GMB Doc 399-1 Filed 06/23/08 Entered 06/23/08 18:06:22                                                                           Desc
                                                 Exhibit Schedule 8.1 to the Debtors Third Amended Plan Page 6 of 6
Schedule 8.1
Executory Contracts to be Assumed
Shapes / Arch Holdings, LLC.
Case No. 08-14631 (GMB)
            Debtor   Name of Other Party to Lease or Contract                             Address                                                Description of Contract or Lease        Assume       Cure
Ultra LLC            IBS Software                                  90 Blue Ravin Road, Folsom CA 95630                      Software Agreement                                      Assume        $          -
Ultra LLC            IBS Software                                  90 Blue Ravin Road, Folsom CA 95630                      Software Agreement                                      Assume        $          -
Ultra LLC            Interline Brands                              200 E Park Drive; Mt Laurel NJ 08054                     Customer's rules and terms for selling to customer      Assume        $    18,462.96
Ultra LLC            J. Mitchell Marketing                         4295 Priceless View Dr, Gold Canyon AZ 85218             Independent Sales Representatives Agreement             Assume        $          -
Ultra LLC            J.L. Smith & Associates                       3035 New Butler Road, New Castle PA 16107                Independent Sales Representatives Agreement             Assume        $          -
Ultra LLC            JENSEN                                        E 131 Main Ave, Spokane WA 99202                         Confirmation of Annual Rebate Agreement                 Assume        $       673.16
Ultra LLC            Jerry's                                       2600 HWY 99 N EUGENE OR 97402                            Vendor Program Information Form                         Assume        $          -
Ultra LLC            JERRY'S HOME IMPROVEMENT CTR                  2600 HWY 99 N EUGENE OR 97402                            Confirmation of Annual Rebate Agreement                 Assume        $        68.55
                                                                   6201 78TH AVE N STE D PINELLAS PARK FL
Ultra LLC            Kenco                                         337812212                                                Confirmation of Annual Rebate Agreement                 Assume        $       100.26
Ultra LLC            Koval Williamson                              11208 47th Ave W, Mulilteo WA 98275                      Independent Sales Representatives Agreement             Assume        $          -
Ultra LLC            L J Cappa & Associates                        6015 NE 1st Ct, Renton WA 98059                          Independent Sales Representatives Agreement             Assume        $          -
Ultra LLC            LMC                                           137 W WAYNE AVE WAYNE PA 190874095                       Confirmation of Annual Rebate Agreement                 Assume        $     2,643.79
                                                                   12315 PARC CREST DRIVE #100 STAFFORD TX
Ultra LLC            Maintenance Supply                            77477                                                    Confirmation of Annual Rebate Agreement                 Assume        $       338.67
Ultra LLC            Menards Agreement                             4777 Menard Drive; Eau Claire WI 54701                   Confirmation of Annual Rebate Agreement                 Assume        $          -
Ultra LLC            Menards Agreement                             4777 Menard Drive; Eau Claire WI 54701                   Customer's rules and terms for selling to customer      Assume        $          -
Ultra LLC            METROPOLITAN LUMBER                           617 11TH AVE NEW YORK NY 10036                           Confirmation of Annual Rebate Agreement                 Assume        $       337.88
Ultra LLC            MidStates                                     548 S Snelling Ave; St Paul MN 55116                     Confirmation of Annual Rebate Agreement                 Assume        $       232.00
Ultra LLC            MONROE HARDWARE                               101 N Sutherland Ave Monroe NC 28110                     Confirmation of Annual Rebate Agreement                 Assume        $       159.04
Ultra LLC            Moore Handley                                 3140 Pelham Parkway, Pelham AL 35124                     Incentive Partnership Agreement                         Assume        $          -
Ultra LLC            MOORE-HANDLEY                                 3140 Pelham Parkway, Pelham AL 35124                     Confirmation of Annual Rebate Agreement                 Assume        $       118.87
Ultra LLC            Mountain Country Marketing                    890 Diana Hills Way Sandy UT 84094                       Independent Sales Representatives Agreement             Assume        $          -
Ultra LLC            Mr. Key                                       2194 NW 18TH AVE MIAMI FL 33142                          Confirmation of Annual Rebate Agreement                 Assume        $       404.44
Ultra LLC            Nerio Rivera                                  75 Pine Creek Estates, E. Stroudsburg PA 18301           Independent Sales Representatives Agreement             Assume        $          -
Ultra LLC            NVR Building Products Co                      21 Byte Ct; Frederick MD 21702                           Pricing Contrct                                         Assume        $    13,417.07
Ultra LLC            Orchard Supply Hardware Agreement             6450 Via Del Oro San Jose CA 95119                       Customer's rules and terms for selling to customer      Assume        $          -
Ultra LLC            Orgill                                        3742 Tyndale Drive Memphis TN 38125                      Confirmation of Annual Rebate Agreement                 Assume        $          -
Ultra LLC            Pamida                                        880 F Street Omaha NE 68127                              Partnership Development Agreement                       Assume        $          -
Ultra LLC            PAMIDA INC.                                   880 F Street Omaha NE 68127                              Confirmation of Annual Rebate Agreement                 Assume        $        31.09
                                                                   6300 S Syracuse Way; Ste 500; Centennial CO 80111-
Ultra LLC            Pro Group                                     6725                                                     Marketing Program Agreement                             Assume        $          -
                                                                   6300 S Syracuse Way; Ste 500; Centennial CO 80111-
Ultra LLC            ProGroup 2008 Marketing Program               6725                                                     Confirmation of Annual Rebate Agreement                 Assume        $       926.00
Ultra LLC            R G Simmons Co.                               120 Broadway Ave S #100, Wayzata, MN 55391               Independent Sales Representatives Agreement             Assume        $     2,476.66
                                                                   28100 N. Ashley Circle Suite 109 Libertyville IL , 60048
Ultra LLC            Reliable 2008 Advertising/Marketing Program   9479                                                     Confirmation of Annual Rebate Agreement                 Assume        $      331.24
                                                                   28100 N. Ashley Circle Suite 109 Libertyville IL , 60048
Ultra LLC            Reliable Dist. @6%                            9479                                                     Confirmation of Annual Rebate Agreement                 Assume        $       898.78
Ultra LLC            Richmond Hardware                             899 WASHINGTON ST BRAINTREE MA 02184                     Confirmation of Annual Rebate Agreement                 Assume        $        67.43
Ultra LLC            Rowley-Strober                                900 W. TRADE ST. CHARLOTTE NC 28202                      Confirmation of Annual Rebate Agreement                 Assume        $     1,101.56
Ultra LLC            Standard Hardware                             STAR DR MERRIMACK NH 03054                               Confirmation of Annual Rebate Agreement                 Assume        $        35.76
Ultra LLC            Strategic Marketing Group                     3201 Sitio Montecillo, Carlsbad CA 92009                 Independent Sales Representatives Agreement             Assume        $          -
Ultra LLC            Target.com                                    33 S 6th St; Minneapolis MN 55402                        Customer's rules and terms for selling to customer      Assume        $          -
Ultra LLC            Team Marketing                                2440 Planfield NE, Grand Rapids MI 49505                 Independent Sales Representatives Agreement             Assume        $          -
Ultra LLC            The Andersons Inc                             480 W Dussel Dr, Maumee OH 43537                                                                                 Assume        $          -
                     The Douglas Group LLC                         4000 Main St Kansas City MO 64111                        Customer's rules and terms for selling to customer
Ultra LLC            Sutherlands - Cimarron                                                                                                                                         Assume        $          -
                     The GeMROI Company                                                                              Independent Sales Representatives Agreement
Ultra LLC                                                          11901 Bowman Dr, Ste 101, Fredericksburg VA 22408                                                                Assume        $          -
Ultra LLC            Tibbets-Cox Lumber                            695 31 St S. St Petersburg FL 33712               Confirmation of Annual Rebate Agreement                        Assume        $          -
Ultra LLC            TPR Resources                                 3604 Greenwood Lane, St Charles IL 60175          Independent Sales Representatives Agreement-not signed         Assume        $          -
Ultra LLC            TRU SERV                                      8600 W. Bryn Mawr Ave., Chicago IL 60631-3505     Confirmation of Annual Rebate Agreement                        Assume        $       537.73
Ultra LLC            UNITED HARDWARE DIST                          5005 Nathan Lane North; Plymouth MN 55442         Confirmation of Annual Rebate Agreement                        Assume        $     1,874.08
Ultra LLC            Van Dykes                                     39771 SD Hwy 34; Woonsocket SD 57385              Vendor Agreement                                               Assume        $          -
                                                                   91 Westborough Blvd; Suite 2000 South San
Ultra LLC            Varsity Logistics Inc.                        Francisco, CA 94080                               Software Agreement                                             Assume        $          -

Ultra LLC            Wallace Hardware                              5050 Davey Crockett Parkway Morristown TN 37813         Confirmation of Annual Rebate Agreement                  Assume        $         -
Ultra LLC            WATTERS & MARTIN                              3800 VILLAGE AVE NORFOLK VA 235025617                   Confirmation of Annual Rebate Agreement                  Assume        $      512.55
                     WR Sales                                                                                              Independent Sales Representatives Agreement
Ultra LLC                                                          1475 Mt Holly Rd; Bldg O7, Edgewater Park NJ 08010                                                               Assume        $          -

                                                                                                                                                                                                  $   911,951.12




                                                                                                                            Page 6 of 6
